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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0243V
                                         UNPUBLISHED


    MONICA LONDONO,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: July 27, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Tetanus Diphtheria acellular
                                                              Pertussis (Tdap) Vaccine; Shoulder
                        Respondent.                           Injury Related to Vaccine
                                                              Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES1

      On February 12, 2019, Monica Londono filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a tetanus-diphtheria-acellular pertussis (“Tdap”)
vaccination administered on October 28, 2016. Petition at 1. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

       On July 27, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On July 24, 2020, Respondent filed a combined Rule 4
report/proffer on award of compensation (“Proffer”) indicating Petitioner should be

1 Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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awarded $134,793.32 (representing $130,000.00 for pain and suffering and $4,793.32
for past lost earnings). Rule 4/Proffer at 5. In the Rule 4/Proffer, Respondent
represented that Petitioner agrees with the proffered award. Id. Based on the record as
a whole, I find that Petitioner is entitled to an award as stated in the Rule 4/Proffer.

      Pursuant to the terms stated in the Rule 4/Proffer, I award Petitioner a lump
sum payment of $134,793.32 (representing $130,000.00 for pain and suffering and
$4,793.32 for past lost earnings) in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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